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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF'DELAWARE


In re:                                                         Chapter i   1



CHICAGO NEWSPAPER LIQUIDATION                                  Case   No. Case No. 09-11092 (CSS)
CORP., eral.,

                                   Debtors.                    Jointly Administered

                                                                Re: Docket No. 801

                       THIRD ORDER BXTENDING EXCLUSIVE PERIODS
                 sET FORTH rN BAITKRUPTCY CODE $ $ 1121(C)(2) AND 1121(CX3)

          Upon the motion (the'Motion") of the above-captioned debtors (collectively, the

"Debtors")l for entry of an order (the "Order") pwsuant to $ 1 1 21 (d) of title          1   I of the United
States Code (the "Bankruptcy Code") extending the periods set forth in Bankruptcy Code


$ $ 1121(c)(2) and 1121(cX3) during which only the Debtors may                 file and solicit votes to

approve aplan of reorgarization (together, the "Exclusive Periods"); and the Court having

jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. $ $ 157

and 1334; and consideration of the Motion and the relief requested therein being a core



I   'fhe Debtors inthese chapter ll cases, along withthe lastfour digits of eachDebtor's federaltax identification
    Dumber,      are:
                    Chicago Newspaper Liquidation Corp. fllcla Sun-Times Media Group, Inc. (8892); American
    Publishing (1991) LLC (9303); American Publishing Company LLC (5797); American Publishing Management
    Services, Inc. (7433); AIAC-95 Oklahoma Holdings, Lrc. (1123); CNLC-CSM, LLC flHa Centerstage Media,
    LLC (1160); Chicago Group Acquisition LLC @250); CNLC-Features, Inc. flkla Chicago Sun-Times Features,
    Inc. (9928); CNLC-CST LLC flWa Chicago Sun-Times LLC Q7a\; CNLC-Digital, Inc. fllda Digital Chicago
    Inc. (0626); CNLC-Fox Valley LLC fMa Fox Valley Publications LLC Qa3Q; HGP, Partnership (4292); HIPI
    (2002) Inc. QgaQ; Hollinger Austalian Holdings Limited (332L); Hollinger Intemational Publishing Inc.
    (0603); HTH Benholdco LLC (8274; HTH Holdings krc. (8275); HTNM LLC (07L4; HTPC Corporation
    (9332); LHAT Corporation (8117); Meridian Star, Inc. (3390); CNLC-Midwest, Inc. flkla Midwest Suburban
    Publishing, Inc (1a55); Northem Miner U.S.A., Inc. (5174); Oklahoma Airplane LLC (1123); CNLC-Pioneer,
    Inc. flHa Pioneer Newspapers Inc. (0502); CNLC-Reach LLC flkJa Reach Chjcago LLC (4252);                    Sun
    Telemarketing LLC (8780); CNlC-Distibution Systems, Inc. fllcla Sun-Times Diskibution Systems, [nc.
    (9838); CNLC-PRD, lnc. flWa Sun-Times PRD Inc. (8118); TAI{L (2002) Inc. (3945); The Jobnstown Tribune
    Publishing Company (7927); CNLC-PT LLC flkJa The Post-Tribune Company LLC (7370); The Red Sheak
    Holdings Company (9358); CNLC-STC, Inc. flWa The Sun-Times Company (7751); XSTMHoldings LLC
    (92U). The location of the Debtors' corporate headquarters arrd the service address for all Debtors is: 350 N.
    Orleans St., Floor 10-S, Chicago, IL 60654.



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proceeding pursuant to 28 U.S.C. $ 157(b); and venue being proper before this court pwsuant to

28 U.S.C. $ $ 1408 and 1409; and          it   appearing that the relief requested in the Motion   will benefit

the Debtors' estate, their creditors and all other parties in interest; and due and proper notice         of
the Motion having been provided, and             it appearing that no other or further notice   need be

provided; and after due deliberation and sufficient cause appearing therefor, it is hereby

ORDERED:

           1.        The Motion is granted to the extent set forth herein.

           2.        Pursuant to Banlcuptcy Code $ 1121(d), the period during which onlythe Debtors

may file     a   plan or plans of reorganization pursuant to $ I 12 1 (b) is hereby extended through and

including Jvne 24, 20L0.

           3.        Pursuant to Bankruptcy Code $ 1121(d), the period during which only the Debtors

may solicit votes to accept a proposed chapter l1 plan filed with this Court is extended through

and including August 27, 2010.

           4.        Nothing herein shall prejudice the Debtors' right to seek firther extensions of the

Exclusive Periods consistent with Bankruptcy Code g 1121(d).

           5.        The Debtors are authorizedto take all actions necessary or appropriate to

effectuate the relief granted pursuant to this order in accordance with the Motion.

           6.        The terms and conditions of this Order shall be immediatelv effective and

enforceable upon entry of the Order.

          7.         The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

Date:                              ,2010
                                                            Christopher S. Sontchi
                                                            United States Bankruptcy Judge




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